                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:10-CR-75
 v.                                                    )
                                                       )       COLLIER/CARTER
 PHILLIP GREEN                                         )

                                  MEMORANDUM AND ORDER

        The defendant appeared for a hearing before the undersigned on August 23, 2010, in
 accordance with Rule 46(c) of the Federal Rules of Criminal Procedure and 18 U.S.C. §§ 3143 and
 3148 on the Petition for Action on Conditions of Pretrial Release. Those present for the hearing
 included:

                (1) AUSA Perry Piper for the USA.
                (2) The defendant, PHILLIP GREEN.
                (3) Attorney Rich Heinsman for defendant.
                (4) Deputy Clerk Kelli Jones.

         After being sworn in due form of law the supervised releasee was informed or reminded of
 his privilege against self-incrimination accorded him under the 5th Amendment to the United States
 Constitution.

         It was determined defendant had been provided with a copy of the Petition for Action on
 Conditions of Pretrial Release and had the opportunity of reviewing those documents with his
 attorney. The defendant was advised of his right to a hearing but waived the hearing and consented
 to the entry of an order finding that he had violated his conditions of release.

        Based on the allegations of the petition and the waiver of the defendant, I find that defendant
 has violated his conditions of release. His bond conditions are revoked and he is ordered into
 custody to be detained without bail pending trial.

        It is ORDERED that the defendant be DETAINED WITHOUT BAIL.

        ENTER.

                                                s/William B. Mitchell Carter
                                                UNITED STATES MAGISTRATE JUDGE




Case 1:10-cr-00075-TRM-CHS            Document 210         Filed 08/23/10      Page 1 of 1      PageID
                                            #: 362
